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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                BOWLING GREEN DIVISION


UNITED STATES OF AMERICA
upon the relation and for the use of the
TENNESSEE VALLEY AUTHORITY,
Plaintiff,

        v.                                                    No. 1:25-CV-00030-GNS

TREE-REMOVAL RIGHTS WITH
RESPECT TO LAND IN WARREN
COUNTY, KENTUCKY,
ROBERT BLAKE PHILLIPPI,
JENNIFER LYNN McCOY,
SERVICE ONE CREDIT UNION,
AMERICAN BANK AND TRUST
  COMPANY, INC.,
Defendants.

                         ORDER DIRECTING DEPOSIT OF FUNDS

       It is hereby ORDERED that the Clerk of this Court shall accept a check for $500 to be

deposited pursuant to the Declaration of Taking filed in this action, and any future funds to be

deposited in this action, in accordance with Federal Rule of Civil Procedure 67(b).

       IT IS ORDERED that counsel presenting this order serve a copy thereof on the Clerk of

this Court or his Chief Deputy. Absent the aforesaid service, the Clerk is hereby relieved of

personal liability relative to compliance with this order.

       IT IS FURTHER ORDERED that all funds received shall be deposited in the Court

Registry Investment System (CRIS) administered by the Administrative Office of the United

States Courts pursuant to 28 U.S.C. § 2045.

       IT IS FURTHER ORDERED that counsel designate the name and address of the

individual, or individuals, who are to receive the monies in the order of disbursement of funds.

Social Security numbers shall not be included in documents to be filed but shall be provided to

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the Clerk’s Office upon request. Corporations, associations, and all others will supply the

employer identification number with the correct title and address upon request of the Clerk’s

office.

          ORDERED, this ____ day of ________, 2025.



                                                 UNITED STATES DISTRICT JUDGE
129783505




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